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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
Southern District of Florida

Case Number: 1:24-CV-23359-XXXX

Plaintiff: UNITED INVESTOR COMMUNITY, INC.,
LYADUNNI UDUGBA

OLUNGBENGA BERNARD ADESUYI =
(Individually and on behalf of all others

similarly situated).

vs.

Defendant: OMEGAPRO FOREX TRADING, LTD, GO-GLOBAL, LTD, HIS
HIGHNESS SHEIKH HAMDAN JURY TRIAL DEMANDED ,BIN
MOHAMMED BIN RASHID,AL MAKTOUM (CROWN PRINCE,OF
DUBA)),UNITED ARAB EMIRATE,CITY OF DUBAI, BROKER GROUP,
LTD, PULSE WORLD, SZAKACS ANDREAS ATTILA, NEVZAT DIKMEN,
RITTA DIKMEN

DILAWARUJIT SINGH, NADER POORDELJOO

PAULO TUYNMAN, JUAN CARLOS REYNOSO SR., MICHAEL
SHANNON SIMS

OMEGA WORLD, LTD, NEPTUNE TRADE, LTD, OMP MONEY, LTD, OMP
EXCHANGE

MELD! CHERIF, MICHAEL LETYNSKI, ROBERT VELGHE, AT AL.,

For:

MORRIS LEGAL LLG
2800 BISCAYNE BLVD.
SUITE 530

MIAMI, FL 33130

Received by Lightning Legal Couriers on the 10th day of September, 2024 at 4:28 pm to be served on
FRANCISCO DAVID STORY, 1811 E LONE OAK DRIVE, DRAPER, UT 84020

|, DAVE LARSEN, do hereby affirm that on the 18th day of September, 2024 at 10:54 am, I:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the SUMMONS AND CLASS ACTION
COMPLAINT FORFRAUD, RACKETEERING, C CONSPIRACY, BREACH OF CONTRACT, AIDING

»AND ABETTING FRAUD, with the date and hour of service endorsed thereon by me, to: FRANCISCO
DAVID STORY at the address of: 6600 AMBROSIA LN, APT 211, CARLSBAD, CA 92017, and informed
said person of the contents therein, In compliance with state statutes.

Under Penalties of Perjury, | declare | have read the foregoing document and the facts stated In It are true.
| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process
Server, in good standing, in the judicial circuit in which the process was served.

DAVELARSEN ~~
Process Server

Lightning Legal Couriers
9280 SW 64 Street
Miami, FL 33173

(786) 286-4167

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